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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                v.                            :      CASE. NO. 21-CR-489-RDM
                                              :
                                              :
JAMIE N. BUTEAU                               :
and                                           :
JENNIFER P. BUTEAU,                           :
                                              :
                       Defendants             :

                                   JOINT STATUS REPORT

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and Defendants, by and through their attorneys, Douglas Stamm and Joseph Conte,

(collectively, “the Parties”), respectfully submit this status report, as directed by the Court, and

state as follows:

       1.       On July 23, 2021, the defendants were charged by way of indictment. Specifically,

Jamie N. Buteau was charged with the following: (Count One) Civil Disorder in violation of 18

U.S.C. § 231(a)(3); (Count Two) Assaulting, Resisting and Impeding Certain Officers in violation

of Title 18 U.S.C. § 111(a)(1); (Count Three) Entering and Remaining in a Restricted Building or

Grounds in violation of Title 18 U.S.C. § 1752(a)(1); (Count Four) Disorderly and Disruptive

Conduct in a Restricted Building or Grounds in violation of Title 18 U.S.C. § 1752(a)(2); (Count

Five) Engaging in Physical Violence in a Restricted Building or Grounds in violation of Title 18

U.S.C. § 1752(a)(4); (Count Six) Disorderly Conduct in a Capitol Building in violation of 40

U.S.C. § 5104(e)(2)(D); (Count Seven) Act of Physical Violence in a Capitol Building in violation

of Title 40 U.S.C. § 5104(e)(2)(F); and (Count Eight) Parading Demonstrating or Picketing in a

Capitol Building, in violation of Title 40 U.S.C. § 5104(e)(2)(G). Jennifer P. Buteau was charged

with the following: (Count Three) Entering and Remaining in a Restricted Building or Grounds in
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violation of Title 18 U.S.C. § 1752(a)(1); (Count Four) Disorderly and Disruptive Conduct in a

Restricted Building or Grounds in violation of Title 18 U.S.C. § 1752(a)(2); (Count Six) Disorderly

Conduct in a Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(D); and (Count Eight)

Parading Demonstrating or Picketing in a Capitol Building, in violation of Title 40 U.S.C. §

5104(e)(2)(G).

       2.        Jamie N. Buteau has been on bond and under GPS monitoring since his initial

appearance in the District Court for the District of Columbia on July 1, 2021. Jennifer P. Buteau

has been on bond since her initial appearance in the District Court for the District of Columbia on

July 1, 2021. Defendants remain compliant with their conditions of release.

       3.        On March 5, 2021, based on the current status of the ongoing COVID-19 pandemic,

the Chief Judge issued Standing order 21-10, which set procedures for resuming criminal trials for

until August 31, 2021. Further, the Court found that “for those cases that cannot be tried

consistent with those health and safety protocols and limitations, the additional time period from

March 15, 2021 through August 31, 2021 is excluded under the Speedy Trial Act as the ends of

justice served by the continuances to protect public health and safety and the fair rights of a

defendant outweigh the best interest of the public and any defendant’s right to a speedy trial,

pursuant to 18 U.S.C. 3161(h)(7)(A).”

       4.        On August 3, 2021, the parties appeared by video for the defendants’ arraignment

and agreed to exclude time from the STA calculation until October 5, 2021.

       5.        On August 25, 2021, in recognition of the current high rate of transmission of the

Delta variant in the District of Columbia, Chief Judge Howell issued Standing Order 21-47,

limiting the number of jury trials that may be conducted at one time until at least October 31, 2021


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and prioritizing trials with detained defendants. Further, the Court found that “for those cases that

cannot be tried consistent with those health and safety protocols and limitations, the additional

time period from August 31, 2021 through October 31, 2021 is excluded under the Speedy Trial

Act as the ends of justice served by the continuances to protect public health and safety and the

fair rights of a defendant outweigh the best interest of the public and any defendant’s right to a

speedy trial, pursuant to 18 U.S.C. 3161(h)(7)(A).”

        6.       On September 29, 2021, Trial Attorney Anne Veldhuis entered her notice of

appearance to begin representing the United States in the defendants’ case.

        7.       On October 5, 2021, the parties filed a joint status report with this Court regarding

the progress of the case and agreeing to exclude time from Speedy Trial Act for an additional 60

days.

        8.       On October 5, 2021, the Court issued an order that the parties files a status report

on or before December 6, 2021 and to exclude time under the Speedy Trial Act until that date.

        9.       On November 1, 2021, a Superseding Indictment charging the same violations

listed in Paragraph 1 was filed with this Court.

        10.      On November 5, 2021, the parties appeared by video for the defendants’

arraignment.

        11.      On December 6, 2021 the parties filed a status report this Court regarding the

progress of the case and agreeing to exclude time from Speedy Trial Act for an additional 60 days.

        12.      On December 6, 2021, the Court issued an order that the parties files a status report

on or before February 4,2022 and to exclude time under the Speedy Trial Act until that date.

        13.      Discovery in this matter is ongoing; government counsel has provided most


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discovery specific to the defendants’ cases to defense counsel, has apprised defense counsel of the

status of outstanding discovery matters, and has provided a significant amount of global discovery.

       14.     Parties are agreed to a 60-day continuance of this matter to allow for the completion

of discovery and to work toward a resolution in this matter, and to excluding related time from

the Speedy Trial Act.

                                                     Respectfully submitted,

                                                     MATTHEW GRAVES
                                                     United States Attorney
                                                     DC Bar No. 481052

                                             By:      /s/
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                                                     _/s/___________________________
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                                                     _/s/___________________________
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